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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:07CR108
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )              TENTATIVE FINDINGS
                                             )
CARLOS LOPEZ,                                )
                                             )
              Defendant.                     )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 62).       The Court has also received the

Defendant’s motion for downward departure and(Filing No. 60) and motion for downward

variance (Filing No. 58). See Order on Sentencing Schedule, ¶ 6. The Court advises the

parties that these Tentative Findings are issued with the understanding that, pursuant to

United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 35, 40 and 41 of the PSR, arguing that he should not

receive 5 criminal history points stemming from his prior DUI conviction described in ¶ 35.

He argues that the sentence imposed by the state court for the offense set out in ¶ 35 was

illegal. A criminal defendant may only collaterally attack a state court conviction in a

federal sentencing proceeding where the Defendant asserts that the state court violated

the constitutional right to appointed counsel. United States v. Charles, 389 F.3d 797 (8th

Cir. 2004). There has been no showing that this Defendant’s constitutional right to

appointed counsel was violated. The objections are denied.
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       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 62) are denied;

       2.     The Defendant’s motions for downward variance and departure (Filing Nos.

58, 60) will be heard at sentencing;

       3.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 15th day of August, 2007.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge



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